                IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION

                         No. 5:08-CR-00091-BR
                         No. 5:16-CV-00461-BR

TIMOTHY HUGH LINDSEY,                )
                                     )
           Petitioner,               )
                                     )      ORDER
           v.                        )
                                     )
UNITED STATES OF AMERICA,            )
                                     )
           Respondent.               )

     For good cause, respondent’s motion to lift stay is ALLOWED.

The government is DIRECTED to file an answer or appropriate motion

in response to petitioner’s amended 28 U.S.C. § 2255 motion within

40 days.

     This 4 August 2017.




                                __________________________________
                                     W. Earl Britt
                                     Senior U.S. District Judge
